
710 S.E.2d 39 (2011)
STATE of North Carolina
v.
Jeffery ROBINSON.
No. 349P09-2.
Supreme Court of North Carolina.
June 15, 2011.
Jeffrey Robinson, for Robinson, Jeffery.
Catherine Jordan, Assistant Attorney General, for State of North Carolina.
Edward W. Grannis, Jr., District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 31st of March 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 15th of June 2011."
